Case 2:13-cv-03248-SVW-SS Document 24 Filed 02/24/14 Page 1 of 2 Page ID #:118


                                                                                      FILED
                                                                             CLERK, U.S. DISTRICT COURT


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                  650 TOWN CENTER DRIVE, SUITE 1200                           FEB 24, 2014
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                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                        PMC DEPUTY
                                                                             BY: ___________________
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   5
       Attorneys for Defendant TRANS UNION LLC
   6
   7
                                       UNITED STATES DISTRICT COURT
   8
                                     CENTRAL DISTRICT OF CALIFORNIA
   9
 10 GREGORY J. MARCINSKI, JR.,                          Case No. CV 13-3248 SVW (SSx)
 11
                            Plaintiff,                  Hon. Stephen V. Wilson, Courtroom 6
 12
                   vs.                                  ORDER OF DISMISSAL
 13                                                     WITH PREJUDICE
 14 TRANS UNION, LLC,
 15                                                                   JS-6
                            Defendant.
 16
 17                Plaintiff Gregory J. Marcinski, Jr. has announced to the Court that all matters
 18 in controversy against Trans Union have been resolved. A Joint Stipulation of
 19 Dismissal with Prejudice has been signed and filed with the Court. Having
 20 considered the Joint Stipulation of Dismissal with Prejudice, the Court makes and
 21 delivers the following ruling:
 22                IT IS ORDERED that the claims and causes of action asserted herein by
 23 Plaintiff Gregory J. Marcinski, Jr. against Defendant Trans Union LLC are in all
 24 respects dismissed with prejudice to the refiling of same, with court costs to be paid
 25 by the party incurring same.
 26
       DATED:            February 24         , 2014
 27
                                                          Hon. Stephen V. Wilson
 28                                                       United States District Judge
       885324.1
                                                                ORDER OF DISMISSAL WITH PREJUDICE
            Case 2:13-cv-03248-SVW-SS Document 24 Filed 02/24/14 Page 2 of 2 Page ID #:119




                    1                                      PROOF OF SERVICE
                    2 STATE OF CALIFORNIA, COUNTY OF ORANGE
                    3
                            At the time of service, I was over 18 years of age and not a party to this
                    4 action. I am employed in the County of Orange, State of California. My business
                      address is 650 Town Center Drive, Suite 1200, Costa Mesa, California 92626-1925.
                    5
                    6        On February 21, 2014, I served true copies of the following document(s)
                      described as ORDER OF DISMISSAL WITH PREJUDICE on the interested
                    7
                      parties in this action as follows:
                    8
                                                  Gregory J. Marcinski, Jr.
                    9
                                                  Reg. No. 12582-050
                   10                             Federal Correctional Institution
                                                  P.O. Box 1000
                   11
                                                  Otisville, NY 10963-1000
                   12                             Plaintiff Pro Se
                   13
                                   BY MAIL: I enclosed the document(s) in a sealed envelope or package
                   14              addressed to the persons at the addresses listed in the Service List and placed
                   15              the envelope for collection and mailing, following our ordinary business
                                   practices. I am readily familiar with Musick, Peeler & Garrett LLP's practice
                   16              for collecting and processing correspondence for mailing. On the same day
                   17              that the correspondence is placed for collection and mailing, it is deposited in
                                   the ordinary course of business with the United States Postal Service, in a
                   18              sealed envelope with postage fully prepaid.
                   19
                            I declare under penalty of perjury under the laws of the United States of
                   20 America that the foregoing is true and correct and that I am employed in the office
                   21 of a member of the bar of this Court at whose direction the service was made.
                   22              Executed on February 21, 2014, at Costa Mesa, California.
                   23
                   24                                                    /s/ April M. Yusay
                                                                       April M. Yusay
                   25
                   26
                   27
                   28
MUSICK, PEELER
& GARRETT LLP
                        885324.1
ATTORNEYS AT LAW
                                                                       2
                                                                                 ORDER OF DISMISSAL WITH PREJUDICE
